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                    IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF TENNESSEE WESTERN DIVISION

JOHN DOE,

        Plaintiff,

v.                                                          No. 2:19-cv-02336-JTF-tmp

RHODES COLLEGE,

        Defendant.


 PLAINTIFF’S REPLY TO RESPONSE TO MOTION FOR LEAVE TO FILE SECOND
                        AMENDED COMPLAINT


        COMES NOW the Plaintiff, John Doe (hereinafter “Plaintiff”), by and through counsel,

and submits this Reply and Memorandum of Law in reply to Defendant’s response to Plaintiff’s

Motion for Leave to file a Second Amended Complaint, (ECF No. 78), filed by Defendant, Rhodes

College (hereinafter “Defendant” or “Rhodes”). In support thereof Plaintiff would state as follows:

                     I.    ARGUMENT AND CITATION TO AUTHORITY

     A. Plaintiff’s Request for Leave to Amend is Timely and Non-Prejudicial.

        Rule 15(a) of the Federal Rules of Civil Procedure provides that leave to amend complaints

shall be freely granted "when justice so requires". Foman v. Davis, 371 U.S. 178, 181, 83 S. Ct.

227, 229, 9 L. Ed. 2d 222 (1962); Troxel Manufacturing Co. v. Schwinn Bicycle Co., 489 F.2d 968,

970 (6th Cir.1973); Tefft v. Seward, 689 F.2d 637 (6th Cir.1982); Howard v. Kerr Glass Mfg., 699

F.2d 330, 333 (6th Cir.1983). Such leave is only inappropriate when there is "undue delay, bad

faith or dilatory motive on the part of the movant, repeated failure to                       cure

deficiencies by amendments previously allowed, [or] undue prejudice to the opposing party by

virtue of the allowance of amendment". Foman, 371 U.S. at 182, 83 S. Ct. at 230; Troxel, 489 F.2d
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at 970. Although if Plaintiff can plead no fact that would support his claim, such amendment is

futile, the motion need not attach a proposed complaint, let alone attach a perfect proposed

comlaint. Perry v. Owensboro Health, Inc., No. 4:14-CV-00046-JHM, 2015 U.S. Dist. LEXIS

93688, at *27 (W.D. Ky. July 16, 2015) (noting that the Court may evaluate a request based on

even less than a proposed complaint). The determination of whether the motion to amend is to be

granted is left to the sound discretion of the trial court. Foman, 371 U. S. at 182, 83 S. Ct. at

230; Zenith Radio Corp. v. Hazeltine, 401 U.S. 321, 330, 91 S. Ct. 795, 802, 28 L. Ed. 2d 77

(1971); Estes v. Kentucky Utilities Co., 636 F.2d 1131, 1133 (6th Cir.1980).

       Here, Defendant can make no reasonable argument that Plaintiff has been dilatory. Plaintiff

filed its motion for leave to amend prior to the entry of a scheduling order. Plaintiff is well-within

the amendment deadline of the scheduling order. Defendant’s sole argument is that Plaintiff’s

amendment would be futile. Defendant essentially asks this Court to preemptively grant a F.R.C.P.

12(b)(6) motion. This Court should only deny Plaintiff’s request for leave to amend if the battery

of facts alleged in the Second Amended Complaint (let alone proven at the preliminary injunction

hearing) could not possibly support its claims.



   B. Plaintiff Asks That this Court Reconsider the Denial of Plaintiff’s Request to Amend

       its Complaint to Include a Retaliation Claim Based on the Filing of the Instant

       Lawsuit.

       As a preliminary matter, Plaintiff acknowledges that this Court has ruled on this issue but

respectfully requests reconsideration of the ruling in light of the authority set forth below. Courts

in the Sixth Circuit permit the amendment of suits to include claims of retaliation for the filing of

the lawsuit itself. Asmo v. Keane, Inc., 471 F.3d 588, 592 (6th Cir. 2006); Hubbell v. FedEx


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SmartPost, Inc., No. 14-13897, 2016 U.S. Dist. LEXIS 75138, at *52 (E.D. Mich. June 9, 2016).

Plaintiff’s Second Amended Complaint makes sufficient allegations to survive a Motion to

Dismiss Retaliation claims under Title IX are analyzed using the same standards as Title VII

retaliation claims. Fuhr v. Hazel Park Sch. Dist., 710 F.3d 668, 673 (6th Cir. 2013.); see also

Nelson v. Christian Bros. Univ., 226 F. App’x 448, 454 (6th Cir. 2008) (“Generally, the courts

have looked to Title VII as an analog for the legal standards in both Title IX discrimination and

retaliation claims.”)

       A retaliation claim can be established either through direct evidence of retaliation or

circumstantial evidence. Spengler v. Worthington Cylinders, 615 F.3d 481, 491 (6th Cir. 2010).

Direct evidence “requires no inferences to conclude that unlawful retaliation was a motivating

factor in the employer’s action.” Imwalle v. Reliance Med. Prods., Inc., 515 F.3d 531, 544 (6th

Cir. 2008). It also “requires the conclusion that unlawful retaliation was a motivating factor in the

employer’s action.” Abbott v. Crown Motor Co., 348 F.3d 537, 542 (6th Cir. 2003). Retaliation

claims supported by circumstantial evidence are examined under the under the familiar McDonnell

Douglas burden-shifting framework used to analyze Title VII and Title IX retaliation

cases. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817, 36 L. Ed. 2d 668

(1973). See Cline v. Catholic Diocese, 206 F.3d 651, 658 (6th Cir. 2000); Asmo v. Keane, Inc.,

471 F.3d 588, 592 (6th Cir. 2006). Douglas Corp. v. Green, 411 U.S. 792 (1973) and Texas Dep’t

of Cmty. Affairs v. Burdine, 450 U.S. 248 (1981). Under the McDonnell Douglas/Burdine

framework, the plaintiff has the initial burden of establishing a prima facie case of retaliation. Fuhr

710 F.3d at 674. To establish a prima facie case of retaliation under Title IX, Plaintiff must

demonstrate: “1) protected activity by the plaintiff; 2) knowledge by the defendant of the protected

activity; 3) adverse school-related action; and 4) a causal connection between the protected activity


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and the adverse action.” Varlesi v. Wayne State University, 909 F.Supp.2d 827, 851 (E.D. Mich.

2012) (citing Papelino v. Albany Coll. Of Pharm. Of Union Univ., 633 F.3d 81, 91-92 (2nd Cir.

2011).

         Initiating formal action against a funding recipient is protected activity. Booker v. Brown

& Williamson Tobacco Co., 879 F.2d 1304, 1313 (6th Cir. 1989). An “adverse school related

action” is any action that is reasonably likely to deter a charging party or others from engaging in

protected activity. White v. Burlington N. & Santa Fe Ry., 364 F.3d 789, 797-98 (6th Cir. 2004).

Close temporal proximity between the protected activity and adverse action, by itself, may be

sufficient to establish the necessary causal connection. See Papelino, 6333 F.3d at 91.

         Here, Plaintiff has alleged that Defendant has placed him on interim suspension and

initiated a previously-intentionally-delayed Title IX misconduct action against him. Both are

reasonably likely to deter a party from engaging in protected activity. Clearly, the Defendant has

knowledge of this lawsuit, and Defendant took these actions only after Plaintiff prevailed in

seeking a temporary restraining order from this Court. (Prior to his now-enjoined dismissal,

Plaintiff was permitted to attend classes, turn in assignments, and to receive grades.). Plaintiff has

further alleged temporal proximity and direct evidence of retaliation. Accordingly, Plaintiff alleges

that making this retaliation claim in the context of this suit rather than a second lawsuit is proper

and requests that this Court reconsider its ruling in this matter. Alternatively, should Plaintiff bring

a second lawsuit prior to this Court’s ruling on the instant motion, Plaintiff requests that this Court

consolidate the actions and permit the filing of an amended and consolidated complaint.




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   C.    Tennessee Law Permits Negligence Claims in Sexual Misconduct Cases to Proceed

        in Parallel to Contract Claims.

        Defendant concedes that under Doe v. Univ. of the South, No. 4:09-cv-62, 2011 U.S. Dist.

LEXIS 35166, at *57, *34, *58 (E.D. Tenn. Mar. 31, 2011) that a plaintiff may pursue negligence

and contractual claims in parallel. Defendant argues that Plaintiff’s proposed Second Amended

Complaint does not sufficiently pled a negligence claim because it has not pled a duty of care

arising from anything but contract law. This statement simply ignores the crucial component of

Plaintiff’s proposed Second Amended Complaint, which states: “Defendant owed Plaintiff a duty

of care to refrain from conduct that poses an unreasonable and foreseeable risk of harm,” and “In

Tennessee, Colleges and Universities owe their students a specific duty of care to manage sexual

misconduct hearings in a fashion that avoids an unreasonable and foreseeable risk of harm. Doe v.

Univ. of the S., 2011 U.S. Dist. LEXIS 35166 (E.D. Tenn. 2011).” Plaintiff’s complaint alleges

two specific duties arising not from contract but from Tennessee common law. That the duties may

partially overlap with Defendant’s contractual duties is immaterial to whether Plaintiff has

sufficiently alleged a duty of care for purposes of a negligence claim. Plaintiff’s factual allegations

(and the proof developed at the preliminary injunction hearing) demonstrate that Rhodes

negligently managed the investigation and hearing in this cause in ways that are not specifically

outlined in its Title IX policy. The record is replete with such faults, and Plaintiff need not cite

each and every one when seeking leave to amend his complaint, but one in particular is highly

relevant: Rhodes failed to charge a third student who was equally implicated in the alleged sexual

misconduct despite having all of the information at its fingertips. Even though this failure is a

component of Plaintiff’s Title IX discrimination claims, even if Rhodes were to succeed in proving

that it lacked a discriminatory motive, Plaintiff could still prevail on the negligence claim because


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the deviation from the standard of care in investigating and resolving a sexual misconduct

investigation is so severe that the deviation itself supports a general negligence claim. Plaintiff

should at least be permitted to obtain and submit expert testimony to establish the standard of care

in conducting sexual misconduct investigations and hearings and to demonstrate that Defendant’s

conduct breached that standard. Plaintiff requests that this Court grant him leave to amend his

complaint.



                                       II.     CONCLUSION



       For the foregoing reasons, Plaintiff respectfully requests that this Court GRANT Plaintiff’s

Motion for Leave to File Second Amended Complaint.

                                                     Respectfully submitted,

                                                     BLACK MCLAREN JONES RYLAND &
                                                     GRIFFEE, P.C.


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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was filed
electronically, and Notice of this filing will be sent by operation of the Court’s ECF system and
via Email to the below counsel of record on this the 29Jth day of July, 2019:

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